                  Case 1:16-cv-00897-TSE-MSN Document 1-2 Filed 07/14/16 Page 1 of 1 PageID# 12
JS44 (Rev. 07/16)                                                                   CIVIL COVER SHEET
TheJS44civil cover sheet and theinformation contained herein neither replace norsupplement the filing andservice of pjeadings or other papers as required bylaw, except as
provided by local rules ofcourt. This form, approved bythe Judicial Conference ofthe United States inSeptember 1974, isrequired for the use ofthe Clerk ofCourt torthe
purpose of initiating the civil docket sheet. (SKE instructions on next page OF THIS roKM.)

I. (a) PLAINTIFFS                                                                                                       DEFENDANTS
MONA LISA BERRY                                                                                                        TARGET CORPORATION
                                                                                                                       JONAS GARCIA


     (b) County of Residence of First Listed Plaintiff                      Arlington                                    County of Residence of First Listed Defendant
                                   (EXCEPT IN V.S PIAINTU-T CASES)                                                                                           (IN U.S. PlAtNTlFF CASES ONLY)
                                                                                                                         NOTE;        IN LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                                      THE TRACT OF LAND INVOLVED.


  (c) Attorneys (Firm Name, Address, andTelephone Number)                                                                 Attorneys (I/Known)
Victor M. Glasberg / Maxwelle C. Sokol
Victor M. Glasberg & Associates
121 S. Columbus Street, Alexandria, VA 22314; 703-684-1100

II. BASIS OF JURISDICTION (Place an "X"inOneBox Only)                                                      III. CITIZENSHIP OF PRINCIPAL PARTIES                                                     -X-inOneBoxforPlaintiir
                                                                                                                  (For Diversity CasesOnly)                                                    and OneBoxfor Defendant)
O    I   U.S. Government                   ^ 3 Federal Question                                                                                   PTF          DEF                                                  PTF       DEF
            Plaintiff                                  (lAS^ Governmeni Nol a Party)                           Citizen ofThisState                •      I      0     1 Incorporated or Principal Place             0 4       0 4
                                                                                                                                                                             of Business In This State


•    2   U.S. Government                   •    4    Diversity                                                 Citizen of Another State           •      2      O    2     Incorporatedand Principal Place          O     5   OS
            Defendant                                  (Indicate Citizenship ofParties in hem III)                                                                           ofBustness in Another Stale

                                                                                                               Citizen or Subject of a            O 3           O    3     Foreign Nation                           0     6   0   6
                                                                                                                   Foreittn Country

IV. NATURE OF SUIT (Place an "X"inOne Box Only)
             CONTRACT                                                   torts                                      FORFElTUREyPENALTY                               BANiCRUPTCY                      OTHER STATUTES                   I

•    110 Insurance                             PERSONAL INJURY                     PERSONAL INJURY             • 625 Drug Related Seizure                • 422 Appeal 28 USC 158               •   375 False Claims Act
•    120 Marine                        • 310 Airplane                         •    365 Personal Injury -             of Property 21 USC 881              •    423 Withdrawal                   •   376QuiTam(3l USC
•    130 Miller Act                    • 315 Airplane Product                          Product Liability       •   690 Other                                        28 USC 157                           3729(a))
•    140 Negotiable Instrument               Liability                        •    367 Health Care/                                                                                            •   400 State Reapportionment
• 150 Recovery of Overpayment • 320 Assault. Libel &                                   Phannaceulical                                                         PROPERTY RIfiHT?                 •   410 Antitrust
      & Enforceinent ofJudgment       Slander                                          Personal Injury                                                   •    820 Copyrights                   •   430 Banks and Banking
• 151 Medicare Act              • 330 Federal Employers'                               Product Liability                                                 • 830 Patent                          •   450 Commerce
G 152 Recovery of Defaulted           Liability                               •    368 Asbestos Personal                                                 O 840 Trademark                       •   460 Deportation
         Student Loans                 •       340 Marine                              Injury Product                                                                                          •   470 Racketeer Influenced and
         (Excludes Veterans)           •       345 Marine Product                      Liability                              1-abor                                                                     Corrupt Organizations
•     153 Recovery ofOverpayment                     Liability                  PERSONAL PROPERTY •                710 Fair Labor Standards              •    861 HIA(139SfD                   •   480 Consumer Credit
         of Veteran's Benefits         •       350 Motor Vehicle              • 370 Other Fraud                         Act                              • 862 Black Lung (923)                •   490 Cable/Sat TV
•    160 Stockholders' Suits           •       355 Motor Vehicic              •    371 Truth in Lending        • 720 Labor/Management                    • 863 DIWC/DIWW (405(g))              O 850 Securities/Commodities/
•    190 Other Contract                             Product Liability         •    380 Other Personal                   Relations                        •    864 SSID Title XVI                       Exchange
•     195 Contract Product Liability   •       360 Other Personal                      Property Damage         • 740 Railway Labor Act                   • 865 RSI (405(g))                    •   890 Other Statutory Actions
•     1% Franchise                           Injury                           •    385 Property Damage         • 751 Family and Medical                                                        •   891 Agricultural Acts
                                       • 362 Personal Injuty -                         Product Liability                Leave Act                                                              •   893 Environmental Matters
                                                     Medical Malpractice                                       • 790 Other Labor Litigation                                                    •   895 Freedom of Information
          REAL PROPERTY                         CIVIL RIGHTS                      PRISONER PETITIONS           • 791 Employee Retirement                      FEDERAL TAX SUITS                          Act

•    210 Land Condemnation             a 440 Other Civil Rights                    Habeas Corpus:                      Income Security Act               •    870 Taxes (U.S. PlaintifT        •   896 Arbitration
•    220 Foreclosure                   • 441 Voting                           •    463 Alien Detainee                                                               or Defendant)              •   899 Administrative Procedure
•    230 Rent Lease & Ejectment        • 442 Employment                       •    510 Motions to Vacate                                                 • 871 IRS—Third Party                           Act/Review or Appeal of
•    240 Torts to Land                 • 443 Housing/                                  Sentence                                                                     26 USC 7609                          Agency Decision
• 245 Tort Product Liability                       Accommodations         •        530 General                                                                                                 •   950 Constitutionality of
• 290 All Other Real Property          •       445 Amer. w/Disabilities - •        535 Death Penalty                    IMMIGRATION                                                                      State Statutes

                                                     Employment                    Other:                      • 462 Naturalization Application
                                       •       446 Amer. w/Disabilities • •        540 Mandamus & Other        • 465 Other Immigration
                                                     Other                    •    550 Civil Rights                     Actions
                                       •       448 Education                  •    555 Prison Condition
                                                                              •    560 Civil Detainee -
                                                                                       Conditions of
                                                                                       Confinement

V. ORIGIN (Place an "X"inOneBox Only)
X1 Original                 • 2 Removed from                      •     3    Remanded from                 • 4 Reinstated or          •   5 Transferred from               • 6 Multidistrict               • 8 Multidistrict
          Proceeding               State Court                               Appellate Court                    Reopened                    Another District                        Litigation -                 Litigatiotj -
                                                                                                                                            (.specify)                              Transfer                       Dtrect File
                                                Cite the U.S. Civil Statute under which you are filing (Donot citeJurisdlctlonal statutesunlessdiversity):
                                                    42 U.S.C.§1981
    VI. CAUSE OF ACTION Brief description of cause:
                                                    Racial profiling, false imprisonment, malicious prosecution
    vn. REQUESTED IN      •                           CHECK IFthis ISA CLASS ACTION             DEMANDS                                                                  CHECK YES only if demanded in complaint:
         COIMPLAINT:                                  UNDER RULE 23, F.R.Cv.P.                                                                                           JURY DEMAND:         K Yes     O No
    VIII. RELATED CASE(S)
